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 7
     Attorneys for Plaintiff and Counterdefendant
 8   VIP Products, L.L.C.

 9                        IN THE UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
     VIP Products, L.L.C., an Arizona limited            No. 2:14-cv-02057-DGC
12   liability company,
                                                         JOINT MOTION TO EXTEND CERTAIN
13                 Plaintiff and Counterdefendant,       EXPERT AND REBUTTAL DISCLOSURES
14          v.
15
     Jack Daniel’s Properties, Inc., a Delaware
16   corporation

17                 Defendant and Counterclaimant.
18

19          Plaintiff VIP Products, L.L.C. and Defendant Jack Daniel’s Properties, Inc.
20   (collectively, “The Parties”), hereby jointly move the Court to extend Plaintiff’s expert
21   disclosure deadline by one business day to Monday, June 15, 2015 and to extend the deadline
22   for Jack Daniel’s Properties, Inc. to disclose its rebuttal expert witnesses one business day to
23   July 13, 2015. Plaintiff’s rebuttal expert disclosure deadline shall remain on July 10, 2015.
24          Good cause exists as one of Plaintiff’s experts is experiencing technical problems with
25   his computer today and the extension of these deadlines by one business day will not impact
26   any other deadline in this case. For the convenience of the court a form of Order is submitted
27   herewith.



                                                     1
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 1
                                                     QUARLES & BRADY, LLP
 2   DICKSON WRIGHT, PLLC                            SEYFARTH SHAW LLP

 3

 4   s/ David G. Bray                                s/ Christopher C. Larkin
     David G. Bray                                   Christopher C. Larkin
     Attorneys for Plaintiff and                     Gregory P. Sitrick
 5   Counterdefendant VIP Products, L.L.C.           Isaac S. Crum
                                                     Attorneys for Defendant and
 6                                                   Counterclaimant Jack Daniel’s
                                                     Properties, Inc.
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 1                                CERTIFICATE OF SERVICE

 2          I hereby certify that on June 12, 2015, I electronically transmitted the above document

 3   to the Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of

 4   Electronic Filing to all CM/ECF registrants:

 5
                                       s/ Kristi A. Arendt
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